                    IN THE UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF KANSAS
                                     (Topeka)

IN RE: COREY LEE GRAME and                            )
       DANA RENEE GRAME                               )
                                      Debtors.        )
                                                      )      Case No. 16-41356
                                                      )      Chapter 13
                                                      )

                            OBJECTION TO CHAPTER 13 PLAN

       COMES NOW L. Jay Henderson, Jeannie Patton, Stuart L. Bailey and Judy K. Bailey

by and through their counsel, Jacob R. Pugh of Pugh & Pugh Attorneys at Law, P.A., and for

their Objection to Chapter 13 Plan, state the following:

       1.      Creditors are not adequately protected. The plan does not address the insurance

and taxes to be paid by Debtors under the terms of the contract for deed. The taxes are past due

and delinquent. Additionally, Creditors have received no proof that the house has been insured.

       2.      The plan lacks feasibility. The contract calls for a final balloon payment of all

amounts remaining due under the contract on August 5, 2018. The plan is scheduled to run

through the year 2020. The plan does not address how the Debtors plan on paying this balloon

payment.

       3.      The plan is not proposed in good faith. The plan does not call for interest on the

past due amount. 11 USC 1322(5) calls for the curing of any default. The plan should call for

interest to be included in past due amounts until paid up through the plan.

       WHEREFORE, L. Jay Henderson, Jeannie Patton, Stuart L. Bailey and Judy K. Bailey

respectfully request that the Court enter an order denying confirmation of Debtors’ Chapter 13

Plan and for such other relief as the Court deems fair and equitable in the premises.




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                                                       Respectfully Submitted,


                                                       s/ Jacob R. Pugh______________________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 7th day of February, 2017, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following:

Gary Hinck
512 SW 6th Ave., Suite 100
Topeka, Kansas 66603
Attorney for Debtors




                                                              s/ Jacob R. Pugh
                                                              Jacob R. Pugh




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